Case 1:19-cv-01437-CMA-NRN Documen

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FILED
U.S. DISTRICT COURT
Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint VIST RISTO FCO L OR ADO
UNITED STATES DISTRICT COURE!20CT 17 AH 10: 46
vePrie t P.CCLWELL
for the CLERK
District of Colorado
BY____ DEP. CLK

Civil Division

Landon Mondragon

Case No. 1:19-cv-1437

(to be filled in by the Clerk’s Office)

 

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-\V-

Nosrak LLC (Nostrak LLC) ;Kasey King -

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Jury Trial: (check one) XX] Yes [] No

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THE DEFENDANT’S ANSWER TO THE COMPLAINT

 

 

 

 

 

I. The Parties Filing This Answer to the Complaint
Provide the information below for each defendant filing this answer or other response to the allegations in the
plaintiffs complaint. Attach additional pages if needed.
Name Kasey King; Nosrak LLC —
Street Address 1614 Foxbrook way
City and County Fort Collins, Larimer County a
State and Zip Code Colorado 80526
Telephone Number 9704819944 a -
E-mail Address stylekingsperformance@gmail.com
I. The Answer and Defenses to the Complaint

A. Answering the Claims for Relief

On a separate page or pages, write as

hort and plain statement of the answer to the allegations in the

complaint. Number the paragraphs. The answer should correspond to each paragraph in the complaint,
with paragraph 1 of the answer corresponding to paragraph 1 of the complaint, etc. For each paragraph
in the complaint, state whether: the defendant admits the allegations in that paragraph; denies the
allegations; lacks sufficient knowledge to admit or deny the allegations; or admits certain allegations
but denies, or lacks sufficient knowledge to admit or deny, the rest.

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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint

B.

Presenting Defenses to the Claims for Relief

Write a short and plain statement identifying the defenses to the claims, using one or more of the
following alternatives that apply.

1. The court does not have subject-matter jurisdiction over the claims because (briefly explain
why there is no federal-question jurisdiction or diversity—of-citizenship jurisdiction; see the complaint form for more
information)

 

2. The court does not have personal jurisdiction over the defendant because (briefly explain)
Motion to Dismiss. Defendents are a sublicensee and therefor no Infringment has occurred.

3. The venue where the court is located is improper for this case because (briefly explain)

Colorado is fine.

 

4. The defendant was served but the process—the form of the summons—was insufficient because
(briefly explain)
Nosrak LLC is not (Nostrak LLC). Adress listed was also incorrect.

 

5. The manner of serving the defendant with the summons and complaint was insufficient because
(briefly explain)
denies

6. The complaint fails to state a claim upon which relief can be granted because (briefly explain why

the facts alleged, even if true, are not enough to show the plaintiff's right to recover)

Motion to Dissmiss. Nosrak LLC, Defendants were provided the pictures under a sub-license
from Jessica Nichole Moore. Jessica Nichole Moore is the person featured in all the photographs
claimed to be copyrighted by Plaintiff. Jessica Nichole Moore also claims of owning and filing
for the copyright of the images provided in Exhibit A and B (See Exhibit D pg2).Defendant
gave use of the hats in exchange for representations by Jessica Nichole Moore that she would
provide photos they would use. Jessica Nichole Moore had apparent authority to give
permission to use the photos. She did in fact provide the photos with authorization (Exhibit D)
to use knowing the defendant would rely and did in fact rely to what appears to be detriment.
Jessica Nichole Moore still continues to use the photos (dated 10/15/19. "See exhibit G")

 

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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint

7.

Another party (name) Karson Saveall, Jessica Nichole Moore needs to be joined (added)
in the case. The reason is (briefly explain why joining another party is required)

Karson Saveall is a founding partner in NOSRAK LLC and is included under the Articles of
buisness by NOSRAK LLC Filed in April of 2019- Dissolved May 2019.

Karson Saveall

1614 Foxbrook way

Fort Collins CO 80526

970-776-0967

Jessica Nichole Moore is the person responsible for providing Defendant( Nosrak IIc) with all
the photographs provided in Exhibit A and B.

Jessica Nichole Moore
417-389-8826

1259 N Washington St

Denver CO

Email: moorejessica339@yahoo.com
Website: Jessicanicholemoore.com
Instagram: @wanderlust_jess

 

 

a. If the basis for subject—matter jurisdiction is diversity of citizenship, state the effect of
adding the other party:
The other party is a citizen of the State of (name)
Or is a citizen of (foreign nation) _ ___. The amount of

 

damages sought from this other party is (specify the amount)

b. If the claim by this other party is based on an alleged violation of a federal
constitutional or statutory right, state the basis:

Copyright Violations: 17 U.S.C SS 105 , 501 and 504

Cc. Asserting Affirmative Defenses to the Claims for Relief

Identify an affirmative defense or avoidance that provides a basis for the defendant to avoid liability for
one or more of the plaintiff's claims even if the basis for the claim is met. Any affirmative defense or
avoidance must be identified in the answer. Include any of the following that apply, as well as any
others that may apply.

The plaintiff's claim for (specify the claim)

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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint
DEFENDANT’S AFFIRMATIVE DEFENSES:

Unclean Hands; Fraud; Copyright misuse; Failure to state a claim on which relief can be

granted; Groundless and frivolous action

1. Jan 2019 Nosrak LLC was contacted by Jessica Nichole Moore via Instagram, Moore wanted

to take some of Nosrak’s hats with her to Arizona for photographing and agreed to

provide Nosrak LLC the pictures of our hats taken while she was in Arizona (Exhibit C).

2. Jan 16 th 2019. We agreed to let her take the hats in exchange for the pictures she would provide.
(Exhibit C)

3. Jan 20 th - Jan 26 th 2019 Jessica Nichole Moore provided us with pictures (Exhibit A, B and E)from
her trip to Arizona where she modeled Nosrak hats and gave us express permission to

use them( See Exhibit A, B and E). Based on this, we began displaying the photos on our

Instagram account.

4. Jan 31st — Feb 6th 2019 Havana Cuba — Nosrak LLC sponsored another photo shoot by Jessica
Nichole Moore and became dissatisfied with her professionalism during the trip and shortly after when
attempting to recover pictures from that trip.

Nosrak LLC then stopped any working or non-working relationship with Jessica Nichole Moore after
attempting the failed photo shoot in Cuba.

5. Feb 17th Landon Mondragon communicated with Kasey King and at which time claimed that the
pictures from Instagram post with Jessica Nichole Moore (Listed in Exhibit A and B) were his photos.
Kasey King was in disbelief and told him that” I had no idea who he was and why should I believe him”.
He didn’t care and made the statement that he was going to sue regardless.

6. Feb 18th Kasey King called Jessica Nichole Moore while she was in Europe on a vacation with her
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were in fact hers (“Moore”) and we had authorization to use them on the Nosrak Instagram.

7. April 19th 2019, we filed articles of organization with the State of Colorado to be able to participate
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8. May 21st 2019, NOSTRAK LLC was served with a civil action from Landon Mondragon.

9. May 21 st Jessica Nichole Moore is contacted via text sent by Kasey King. She again

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the plaintiff. She stated that her lawyer has advised her not to touch anything.

(Exhibit F)

10. May 26th 2019, articles of Dissolution for Norak LLC were filed along with Nosrak’s tax forms that
were filed with a $0 return which was then sent in a response to Richard Liebowitz at Liebowitz Law
Firm.

11. Sept 26th 2019 Kasey King was personally named in the Civil Suit with Landon Mondragon.

12. Sept 27th 2019 Discussions between Landon Mondragon and Kasey King Leads to Communication
between attorney Richard Liebowitz and Kasey King. Liebowitz made an offer to stop the proceedings
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The actions of both Landon Mondragon and Jessica Nichole Moore have created a lack of clarity in the
ownership of the photos provided in Exhibit A and B. The photos were immediately taken down by
Nosrak LLC upon receiving notice. Mr. Mondragon’s dispute is with Jessica Nichole Moore not Nosrak
or any other group who was provided the same pictures from Jessica Nichole Moore. It was Jessica
Nichole Moore’s assurance of her of ownership of the Photographs (and the copyright in them) on which
we relied in good faith (Exhibit D). Mondragon and Moore are both guilty of unclean hands, This whole
thing appears to be some kind of a fraud. Both Mondragon and Moore are self-proclaimed professional
photographers. As a result of their conduct, which appears to have been taken in concert; Defendants
gave use of the hats in exchange for a promise by Jessica Nichole Moore to provide photos we would
use. Jessica Nichole Moore had apparent authority to give permission to us to use the

photos. She did in fact provide the photos with authorization (Exhibit D) to use them knowing we

would rely and did in fact rely to what is now our detriment. Jessica Nichole Moore still continues to use
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are both groundless and frivolous.

 
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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint

is barred by (identify one or more of the following that apply):

1. Accord and satisfaction (briefly explain)

2. Arbitration and award (briefly explain) Oo 7 ee

3. Assumption of risk (briefly explain) ee _ —_

*- Contributory or comparative negligence of the plaintiff (briefly explain) 7 _
5. Duress (briefly explain) - _ OO 7 —
6. Estoppel (briefly explain) _ - _ i a —

Beased on the Conduct of Landon Mopndragon and Jessica Nichole Moore in drawing in
innocent people to there personal drama. they should be stopped from asserting copyright
infringement.

7. Failure of consideration (briefly explain)

Jessica Nichole Moore; not being named directly in this document is a failure of consideration to
this situation's origin. Plaintiff is only looking to cause more finacial stress to anyone involved
with Jessica Nichole Moore resulting in additional duress for the involved. This is a personal
dispute between Jessica and Landon. We would have included him in any of our tags on pictures
or credits on the photos. He only wants money and for anyone involved in buisness with Jessica
Nichole Moore to pay for his disatisfaction with there relationship. We were a growing business
trying to include everyone that was involved in any shoot with our hats. We were trying to grow
our hat into something people looked forward to possesing and include anyone involved in any
credit towards developing Nosrak.

 

8. Fraud (briefly explain)

Nosrak LLC did not act fraudulantly in its use of these pictures. This is an internal dispute
between Landon Mondragon and Jessica Nichole Moore; Nosrak LLC should not be placed in
the middle of there personal disagreements. Evidance of the communications and release of
images between Nosrak LLC( Kasey King/ Karson Saveall) with Jessica Nichole Moore
attached in Exhibit C and D. If Jessica Nichole Moore representations are false either She or
they committed fraud together,

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9. Illegality (briefly explain)

10, Injury by fellow employee (briefly explain)

 

11. Laches (Delay) (briefly explain)

 

12. License (briefly explain)

Nosrak LLC was acting under an agreement(sub-license) from Jessica Nichole Moore for the
use of the pictures in Exhibit A and B. The agreement Jessica and Landon broke happened after
the distribution of photos (Exhibit a and B) from Jessica Moore.

 

13. Payment (briefly explain)

 

14. Release (briefly explain)
Release of the images(Exhibit A and B) were provided by Jessica Moore to NOSRAK LLC.

15. Res judicata (briefly explain)

16. Statute of frauds (briefly explain)

17. Statute of limitations (briefly explain)

18. Waiver (briefly explain)

19, Other (briefly explain)

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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint

Motion to Dissmiss, NOSRAK LLC has closed its business due to Landon Mondragons actions.

Asserting Claims Against the Plaintiff (Counterclaim) or Against Another Defendant
(Cross—Claim)

For either a counterclaim against the plaintiff or a cross—claim against another defendant, state briefly
the facts showing why the defendant asserting the counterclaim or cross—claim is entitled to the damages
or other relief sought. Do not make legal arguments. State how each opposing party was involved and
what each did that caused the defendant harm or violated the defendant's rights, including the dates and
places of that involvement or conduct. If more than one counterclaim or cross—claim is asserted,

number each claim and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

1.

The defendant has the following claim against the plaintiff (specify the claim and explain it;
include a further statement of jurisdiction, if needed):

Committed fraud upon NOSRAK LLC under the false allegations by plaintiff. Jessica Nichole
Moore authorized use of the pictures (exhibit A and B)and with permission we displayed the
images featuring Jessica Nichole Moore and our Nosrak Hats on the Instagram page Nosrak; we
were then sued by an unknown party due to the actions of Landon Mondragon.

 

The defendant has the following claim against one or more of the other defendants (specify the
claim and explain it; include a further statement of jurisdiction, if needed):

No additional claims against Kasey King, Karson Saveall, acting owners of Nosrak LLC,
("Nostrak LLC")

 

State briefly and precisely what damages or other relief the party asserting a counterclaim or
cross—claim asks the court to order. Do not make legal arguments. Include any basis for
claiming that the wrongs alleged are continuing at the present time. Include the amounts of any
actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons that are alleged to entitle
the party to actual or punitive money damages.

a. The defendant asserting the counterclaim or cross—claim against (specify who the claim is
against) NOSRAK LLC, Kasey King, Karson Saveall alleges that the following
injury or damages resulted (specify):

the damages to our business resulte in the closure of NOSRAK Hats, Nosrak has Lost
$30,000 and all of our momentum within the fashon industry. We ask the court to
dissmiss this case as it has a lack of ligitamacy and award Nosrak LLC relief from both
Landon Mondragon and Jessica Nichole Moore.

 

 

b. The defendant seeks the following damages or other relief (specify):

$30,000 USD and the Dissmissal of the Case against Defendants (Nosrak LLC/Kasey
King).

 

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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint

HI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this answer: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the answer otherwise complies with the requirements
of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 10/14/2019

Signature of Defendant
Printed Name of Defendant Kasey King, Nosrak LLC

 

 

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E-mail Address

 

 

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1.

Defendants (Nosrak LLC, Kasey King) hereby answer the Complaint by Landon Mondragon (“Plaintiff”)

The answer and defenses to the complaint

Nature of Action

This is an action for copyright infringement under section 501 of the copyright act. This action
arises out of Defendants’ Unauthorized reproduction and public display of copyrighted
photographs of models, owned and registered by Mondragon, a professional photographer.
Accordingly, Mondragon Seek Monetary relief under the Copyright Act of the United States,
As amended, 17 U.S.C. et seq.

Answer:

Deny: Defendants were not unauthorized in displaying the photographs; Deny:
Defendants lacks sufficient knowledge regarding to ownership of the copyright in the
Photographs and whether Mondragon is a professional photographer. Defendant
Admits the remainder.

This claim arises under the copyright Act, 17 U.S.C. 101 et seq., and this court has subject
matter Jurisdiction over this action pursuant to 28 U.S.C. 1331 and 1338(a).

Answer: Admit

Upon information and belief, this court has personal jurisdiction over defendants because
defendants reside and/or transact business in Colorado.

Answer: Admit

Venue is proper in this District pursuant to 28 U.S.C § 1391(b).

Answer: Admit

Parties

Mondragon is a professional photographer having a usual place of business at 1113 W
Culver Street, Phoenix, Arizona 85007

Answer:
Deny defendant lacks sufficient information to admit or deny and therefor
denies.

6. Upon information and belief, Nosrak is domestic limited liability company duly organized
and

existing under the laws of the State of Colorado with a place of business at 1614 Foxbrook
Way, Fort Collins, Colorado 80526. Upon information and belief, Nosrak is registered with the
Colorado Department of Corporations to do business in Colorado. At all times material
hereto, Nosrak has operated its Instagram page at URL: www.Instagram.com/Nosrak (the
“Website”).

Answer:
Deny; Colorado does not have a Department of Corporations; Deny: at all
times material hereto is undefined and therefor defendant denies this statement.

7. Upon information and belief, King is an individual and the managing member of Nostrak
(Nosrak LLC)or otherwise supervises and controls the activities of Nostrak (Nosrak LLC)

Answer:
Deny: King is not the managing member of Nosrak and does not himself supervise or
control the activities of Nosrak.
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10.

11.

12.

STATEMENT OF FACTS
a) Background and Plaintiffs Ownership of the Photographs

Mondragon photographed models (the “Photographs”). A true and correct copy of the
Photographs is attached hereto as Exhibit A and B of attached.

Answer:
Deny Defendant lacks sufficient information to admit or deny and therefor denies.

Mondragon is the author of the Photographs and has at all times been the sole owner of all
right, title and interest in and to the Photographs, including the copyright thereto.

Answer:

Deny Defendants lack sufficient information regarding authorship of the
Photographs and therefore deny this statement. To the contrary, Jessica Nichole
Moore claims copyright of Exhibits a and b (see Exhibit D pg2)

The Photographs were registered with the United States Copyright Office and were given
Copyright Registration Number V A 2-149-814.

Answer:

Deny: Defendants are unable to view the photos registered on USCRO website and
Plaintiff has not provided evidence of the deposit material associated with the
Registration he recites; Defendants therefor deny this statement

Defendant’s Infringing Activities
Nosrak ran the Photographs on the Website to promote their brand. See:
http:/Avww.instagram.com/nosrak/?hi=en. Screenshots of the Photographs on the Website
are attached hereto as Exhibit B.

Answer:

Admit Defendants were given the photographs and authorized to use them

by Jessica Nichole Moore between the months of January

and April 2019 (see Exhibit C,D,F). The model appearing in the photographs is Jessica
Nichole Moore modeling Defendants Nosrak brand hats

Defendants did not license the Photographs from Plaintiff for its Website, nor did Nosrak have
Plaintiffs permission or consent to publish the Photographs on its Website.

Answer:

Admit to the extent Defendants did not receive their license from Plaintiff. Based on

this Complaint, Defendant does not know who the author or copyright holder

In the Photographs is. If it is Mr. Mondragon, it appears that Ms. Moore has a license to
them (as she is using them herself) who provided Defendants with a sublicense for use of
them in accordance with the agreement Defendants had with her in allowing her to take
the hats to Arizona where she would take pictures of them being modeled in Arizona
settings and copies of the pictures would be provided to Defendants to use in our
business. Ms. Moore claims to be a professional photographer.
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CLAIM FOR RELIEF
(COPYRIGHT INFRINGEMENT AGAINST DEFENDANT
(17 U.S.C. §§ 106,501)
13. Plaintiff incorporates by reference each and every allegation contained in Paragraphs 1-12
above.
Answer:
Defendant incorporates by reference each of its prior responses to Paragraphs 1-12.

14. Defendants infringed Plaintiff's copyright in Photographs by reproducing and publicly
displaying the Photographs on the Website. Defendants are not, and have never been,
licensed or otherwise authorized to reproduce, publicly display, distribute and/or use the
Photographs.

Answer:

Deny: if Mondragon owns the copyright in the Photographs, then Jessica Nichole
Moore appears fo have a license to them and granted a sub-license to Defendants.
Defendants were therefore authorized in their use. (see Answer to 12 above as
well).

15, The acts of Defendants complained of herein constitute infringement of Plaintiff's
copyright and exclusive rights under copyright violation of Sections 106 and 501 of the Copyright
Act, 17 U.S.C §§ 106 and 501.

Answer:
Deny: Defendants lack sufficient information regarding of Plaintiff's claimed rights.

16. Upon information and belief, the foregoing acts of infringement by Defendants have been
willful, intentional, and purposeful, in disregard of and indifference to Plaintiff's rights.

Answer: Answer:

Deny: Nosrak LLC maintains their innocence despite whatever dispute is

going on between Jessica Nichole Moore and Landon Mondragon as to who the
owns the copyright in the photos in Exhibit A and B. Nosrak hats has closed its
doors due to this ongoing dispute between Landon Mondragon and Jessica Nichole
Moore.

17. As a direct and proximate cause of the infringement by the Defendants of Plaintiffs copyright
and exclusive rights under copyright, Plaintiff is entitled to damages and Defendants’ profits
pursuant to 17 U.S.C. § 504(b) for the infringement.

Answer:

Deny: Nosrak LLC has obtalned no profits from any sales and

was given and made use of the Photographs with authorization from Jessica

Nichole Moore. Defendants deny that they have infringed any right Plaintiff may have.

18. Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work infringed
for Defendants’ willful infringement of the Photographs, pursuant to 17 U.S.C. § 504(c).

Answer:

Deny: Defendants were authorized to use the photos and if found not to have

such authorization Defendant an innocent Infringer for which damages of $200 per work is
provided by the statute.
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DEFENDANT'S AFFIRMATIVE DEFENSES:

Unclean Hands; Fraud; Copyright misuse; Failure to state a claim on which relief can be
granted; Groundless and frivolous action

1. Jan 2019 Nosrak LLC was contacted by Jessica Nichole Moore via Instagram. Moore wanted
to take some of Nosrak’s hats with her to Arizona for photographing and agreed to

provide Nosrak LLC the pictures of our hats taken while she was in Arizona (Exhibit C).

2. Jan 16 th 2019. We agreed to let her take the hats in exchange for the pictures she would
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Nosrak LLC then stopped any working or non-working relationship with Jessica Nichole Moore
after attempting the failed photo shoot in Cuba.

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The actions of both Landon Mondragon and Jessica Nichole Moore have created a lack of clarity
in the ownership of the photos provided in Exhibit A and B. The photos were immediately taken
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Moore. It was Jessica Nichole Moore's assurance of her of ownership of the Photographs (and
the copyright in them) on which we relied in good faith (Exhibit D). Mondragon and Moore are
both guilty of unclean hands, This whole thing appears to be some kind of a fraud. Both
Mondragon and Moore are self-proclaimed professional photographers. As a result of their
conduct, which appears to have been taken in concert; Defendants gave use of the hats in
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exchange for a promise by Jessica Nichole Moore to provide photos we would use. Jessica
Nichole Moore had apparent authority to give permission to us to use the

photos. She did in fact provide the photos with authorization (Exhibit D) to use them knowing we
would rely and did in fact rely to what is now our detriment. Jessica Nichole Moore still continues
to use the photos dated 10/15/19. (See exhibit G). Based on the facts in this case, the claims
made by Plaintiff are both groundless and frivolous.

Counter Claim

1. Fraud conspiracy to commit fraud on the part of Plaintiff and Jessica
Moore (see above facts);

2. Harassment and copyright misuse by Plaintiff for purposes of extorting money
(see above facts).

Prayer for relief

1. Dismissal of this action with prejudice.

2. An award to defendants’ of costs, expenses and attorney fees incurred due to this
frivolous and groundless case

3. An award to Defendants of damages in the amount of $30,000 due to harm to the
business.

1. That defendants, Jointly and severally, be adjudged to have infringed upon Plaintiffs Copyrights
in the photographs in Violation of 17 U.S.C subsection 106 and 501;

Deny assuming plaintiff has any rights. Defendants should be deemed a sub-licensee of
the copyrights in the photos. Defendants request that this action be dismissed with
prejudice.

2. That Plaintiff be awarded either: a) Plaintiffs actual Damages and defendants, Profits, gains or
advantages of any kind attributable to defendants infringement of plaintiffs photographs; or b)
alternatively, statutory damages of up to $150,000 per copyrighted work infringed pursuant to 17
U.S.C. Subsection 504;

Denies, Defendants are sub-licensing and thus no infringement and thus no damages
owing.

3. That all defendants be required to account for all profits, Income, Receipts, or other benefits
derived by defendants as a result of its unlawful conduct;

4. Denies, Defendants are sub-licensing and thus no infringement and thus no damages
owing.

5. The Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant of 17 U.S.C
Subsection 505;
Denies, Defendants are sub-licensing and thus no infringement and thus no costs or fees
owing.

6. That plaintiff be awarded pre-judgement interest; and
Denies, Defendants are sub-licensing and thus no infringement and thus no damages
owing.

7. Such other and further relief as the court may deem just and proper.
Denies
Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 14 of 52

Motion to Dismiss

Based on all the foregoing pleadings of the parties and evidence provided, Defendants request
that this action be dismissed for failure to state a claim upon which relief can be granted.

Dated: Fort Collins CO
October14, 2019

Kasey King

1614 Foxbrook way
Fort Collins Co 80526
Tel: 970-481-9944

stylekingsperformance@gmail.com
Case 1:19-cv-01437-CMA-NRN_.. Document 23 _Filed 10/17/19 USDC Colorado -Page 15 of 52

EXHIBIT A
Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Pgge 16 of 52
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Case 1:19-cv-01437-CMA-NRN_ Document 23 Filed 10/17/19 USDC Colorado .Page 18 of 52

 

 

 

 
Case 1:19-cv-01437-CMA-NRN_ Document 23 Filed 10/17/19 USDC Colorado _Page 19 of 52

EXHIBIT B
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Exhibit C
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Let me see what I’ve got at the
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some pics

Are there any that you would
like to take?

Thanks for asking! That would
be great

What part of Arizona ?

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Is this from that boutique too?

Just the jeans!

& It’s okay though

January 29, 4:37 PM

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February 05, 4:35 PM

 

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Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 30 of 52

Exhibit D
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Hey kasey! | don’t have your number
so I'm just messaging you on here.
So sorry about ail the bullshit. Hes
literally only doing this shit because
he hates me and is trying to ruin our
business relationship because he
knows I'm out of the country and
can't do shit. I’m sure you know but
he's the biggest asshole. Hints why
he lost his show </'ll have WiFi at
our new Airbnb and I'll be able to
call you tomorrow to discuss this
further! But for now this is what my
lawyer has said he's going to handle
everything. One cut off all contact
with him. There is no reason you
should talk on the phone to him.
Only email. Block him on everything
else. Email is the best form of
communication because it can

be tracked. Second this is a issue
between me and him. As I'm the
photographer and he has nothing
to do with this situation besides
just trying to fuck everything up for
me. So | know he's trying to come
after you, but | have him for a bunch
of stuff like slander, harassment,
sexual assault

And a bunch of other things so not

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Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 32 of 52

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after you, but | have him for a bunch
of stuff like slander, harassment,
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And a bunch of other things so not
to worry this will be over in a few
days as soon as my lawyer gets
back to me

As far as the photos go. THEY ARE
MY PHOTOS. USE THE FUCK OUT
OF THEM!

| have the copyright. I'll send that
over as soon as | get to Lisbon as
well as a agreement and copyright
for you to legally use the photos.

So again! Sorry about the added
stress! You know | would never ever
do that to yall intentionally. Also
have only had one person try to

do this to me before and I won. So
NOTHING to worry about seriously.
| got your back. Again they are my
photos. No matter what he says.
Encrypted in each photo | take it
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the meta data in each photo its
says jessica moore photographer
t=. so even if he says he has the
photos... because during his mentor

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Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 33 of 52

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for editing purposes... but he shot

it on my Fucking camera... he has

no prove what so ever. That's what

| was trying to tell Karson. He's just

trying to start shit because | have

him blocked on everything and he

wants me to talk to him. Little does

me know... I’m way crazier than him

and I'll Fucking ruin him. My dad is

already paying for the lawyer.

Once he hears it's a sexual assault
case and I'm not the only one who
will come forward. Everything will
drop immediately!

So end of rant! Send me everything
he's sent you to my email
Moorejessica339@yahoo.com

Hope you guys have the best day!

Sorry for the bullshit! Talk to you
tomorrow \_/

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Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 34 of 52

Exhibit E
Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 35 of 52

 

 

 
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Exhibit F
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Hey so I've been advised to not touch
the photos at all. Once you guys
lawyer up. They will have me come in
and they will have to do a legal
search of my camera and computer!
If | get you evidence now they could
come back with a counter claim that
says | tampered with evidence. Which
could cost you the case.. so | don't
want to do that at all. But that's just
what a my dads lawyer said, so just
wanna make sure we do this right!!
Cuz I'm ready to Fucking finish him.

; hs But we I'll see what this other lawyer

i | have no idea. | haven't heard
wil anything back yet.

 

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I'm sorry that we ‘Ly 2 to deal with it
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For sure dude. | mean | never ina
Fucking million years excepted this.
I'm sorry that we have to deal with it
now. Yah know. That's literally all it
was. It was all fun. There were no
contracts. No one was paid. You took
them down. | have the copyright. It'll
be be handled.

| just don't know what his fucking
deal is. But it will all work out. This
has me so damn pissed and
be disappointed. It just sucks. But you'll
wal come out on top. | promise

 

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EXHIBIT G
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304 likes

wanderlust_jess | miss wandering these magical streets.

View all 4 comments
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758 likes
wanderlust_jess Let the sun shine, baby.
View all 44 comments

Mm Q Y S
Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 51 of 52
1844 (Rev.06/17) District of Colorado Form CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required b law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
(b) County of Residence of First Listed Plaintiff | Maricopa County of Residence of First Listed Defendant Larimer
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attomeys (Firm Name, Address, and Telephone Number) Richard Liebowitz, liebowite Law Attorneys (if Known)
Firm, PLLC, 11 Sunrise plaza, Suite 305, Valley Stream, New York 11580 tele:516-233-1660

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I. BASIS OF JURISDICTION (iace an “x” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (piace an “Xx” in One Bax for Plaintif f
(For Diversity Cases Only) and One Box for Defendant)
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Citizen of This State ‘4 X’ 1 Incorporated or Principal Place ‘4 x4
Plaintiff Xws. Government Not a Party) ° of Business In This State
; , Citizen of Another State X' 2 ' 2° Incorporated and Principal Place *x5 'S
O 2 US. Government 4 Diversity of Business In Another State
Defendant (Indicate Citizenship of Parties in Item I)
Citizen or Subject of a ‘3 " 3 Foreign Nation a) "6
IV. NATURE OF SUIT (Place an “X” in One Box Click here for: Nature of Suit Code Descriptions.
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(_—REALFROFERTY ——|-—CVIGRIGHIS —"—[-FBONERFETITIONS] Lene FEDERACTARSUTIS—]9 #92 Environmental Mates
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Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): 4! US© IU

 

VI. CAUSE OF ACTION Brief description of cause: Copyright Infringement AP Docket

 

 

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VII. REQUESTED IN
oo UNDER RULE 23, F.R.CvP. JURYDEMAND: X' Yes 'No
VIIT. RELATEDCASE(S)
IF ANY (Seeinstructions): | JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
10/15/2019

 

FOR OFFICE USE ONLY
Case 1:19-cv-01437-CMA-NRN Document 23 Filed 10/17/19 USDC Colorado Page 52 of 52

JS 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

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VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
